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10                                UNITED STATES DISTRICT COURT
11                           CENTRAL DISTRICT OF CALIFORNIA
12
13     TIFFANY HARRIS, an individual,             Case No. 5:19-cv-01795-DOC-SHK
14                   Plaintiff,                   Before the Hon. David O. Carter
15              v.                                JUDGMENT
16     COVERALL NORTH AMERICA, INC., a
       Delaware Corporation and DOES 1
17     through 10, inclusive,
18                   Defendants.
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                                                                                  JUDGMENT
                                                             CASE NO. 5:19-CV-01795-DOC-SHK
       65798702v.1
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 1              Having duly considered the issues, and having rendered a decision granting
 2     summary judgment in favor of Defendant Coverall North America, Inc., the Honorable
 3     David O. Carter orders as follows:
 4              IT IS HEREBY ORDERED AND ADJUDGED THAT Plaintiff Tiffany Harris
 5     takes nothing and that this action be dismissed on the merits. Each party shall bear their
 6     own costs and fees.
 7              IT IS SO ORDERED.
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 9     DATED: September 18, 2020
                                                        The Honorable David O. Carter
10                                                      United States District Judge
                                                        U.S. District Court for the
11                                                      Central District of California
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                                                                                          JUDGMENT
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